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·1· · · · · · · · ·UNITED STATES DISTRICT COURT

·2· · · · · · · ·NORTHERN DISTRICT OF CALIFORNIA

·3· · · · · · · · · · · · · ---o0o---

·4· ·PAULINE M. VELEZ,

·5· · · · · · · · · Plaintiff,

·6· ·vs.· · · · · · · · · · · · · · · · No. 4:20-cv-05170-KAW

·7·    ·DEPARTMENT OF VETERANS AFFAIRS,
· ·    ·et al.,
·8
· ·    · · · · · · · · Defendants.
·9·    ·_______________________________/

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12

13
· ·    · · · · · ·REMOTE VIDEOCONFERENCING DEPOSITION
14
· ·    · · · · · · · · · · · · · ·OF
15
· ·    · · · · · · · · · ·WILLIAM CAHILL, M.D.
16
· ·    · · · · · · · · · · MATHER, CALIFORNIA
17
· ·    · · · · · · · · · ·MONDAY, MAY 10, 2021
18

19

20

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24· ·REPORTED BY:· ADRIENNE L. ANDREINI, C.S.R. No. 4804

25· ·FILE NO.:· · ·AF02943


                                  William Cahill, M.D.
                                     May 10, 2021                         1
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·1· · · · · · · · UNITED STATES DISTRICT COURT

·2· · · · · · · ·NORTHERN DISTRICT OF CALIFORNIA

·3· · · · · · · · · · · · · ---o0o---

·4· ·PAULINE M. VELEZ,

·5· · · · · · · · · Plaintiff,

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·7·   ·DEPARTMENT OF VETERANS AFFAIRS,
· ·   ·et al.,
·8
· ·   · · · · · · · · Defendants.
·9·   ·_______________________________/

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12· · · · · · ·Deposition of WILLIAM CAHILL, M.D.,

13· ·taken on behalf of Plaintiff, at 10535 Hospital Way,

14· ·Mather, California, commencing at the hour of 10:02 a.m.

15· ·thereof, on Monday, May 10, 2021, before me,

16· ·ADRIENNE L. ANDREINI, C.S.R. No. 4804, State of

17· ·California.

18· · · · · · · · · · · · · ---o0o---

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·1· · · · · · · · · · A P P E A R A N C E S

·2· ·FOR PLAINTIFF PAULINE M. VELEZ:

·3·   ·   ·   ·   ·   HOYER & HICKS
· ·   ·   ·   ·   ·   · By:· RICHARD A. HOYER, ESQ.
·4·   ·   ·   ·   ·   · · · ·(via videoconferencing)
· ·   ·   ·   ·   ·   · · · ·- and -
·5·   ·   ·   ·   ·   · · · ·NICOLE B. GAGE, ESQ.
· ·   ·   ·   ·   ·   · · · ·(via audioconferencing)
·6·   ·   ·   ·   ·   4 Embarcadero Center, Suite 1400
· ·   ·   ·   ·   ·   San Francisco, California 94114
·7·   ·   ·   ·   ·   415.766.3539
· ·   ·   ·   ·   ·   rhoyer@hoyerlaw.com
·8·   ·   ·   ·   ·   ngage@hoyerlaw.com

·9·   ·FOR DEFENDANT DEPARTMENT OF VETERANS AFFAIRS
· ·   ·and on Behalf of the Witness:
10
· ·   ·   ·   ·   ·   THE UNITED STATES ATTORNEY'S OFFICE
11·   ·   ·   ·   ·   · By:· VALERIE E. SMITH, ESQ.
· ·   ·   ·   ·   ·   · · · ·(via videoconferencing)
12·   ·   ·   ·   ·   450 Golden Gate Avenue
· ·   ·   ·   ·   ·   San Francisco, California 94102
13·   ·   ·   ·   ·   415.436.6985
· ·   ·   ·   ·   ·   valerie.smith@usdoj.gov
14

15·   ·Also       Present:·   PAULINE M. VELEZ (via audioconferencing
· ·   · · ·       · · · · ·   · commencing at Page 25, Line 19 through
16·   · · ·       · · · · ·   · Page 36, Line 18; Page 36, Line 25
· ·   · · ·       · · · · ·   · through Page 49, Line 25)
17
· ·   · · · · · · · · MICHAEL REMLER (via audioconferencing
18·   · · · · · · · · · commencing at Page 50, Line 1 through
· ·   · · · · · · · · · conclusion of the proceedings)
19

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·1· · · · · · · · · · · · · I N D E X

·2· ·EXAMINATION BY:· · · · · · · · · · · · · · · · · · ·PAGE

·3· · ·MR. HOYER .......................................· ·6

·4

·5· · · · · · · · · · · ·E X H I B I T S

·6· ·NUMBER· · · · · · · · DESCRIPTION· · · · · · · · · ·PAGE

·7
· ·   ·PLAINTIFF'S EXHIBITS:
·8
· ·   ·EXHIBIT 1·    ·Four-page document, the first page· · · ·73
·9·   · · · · · ·    ·reflecting "From: ngage@hoyerlaw.com,"
· ·   · · · · · ·    ·"To: adriennecsr@aol.com," "Date: Mon,
10·   · · · · · ·    ·May 10, 2021 2:09 pm"; the third
· ·   · · · · · ·    ·through final page being a letter
11·   · · · · · ·    ·"From: Cahill, William, "Sent: Friday,
· ·   · · · · · ·    ·May 17, 2019 2:56 PM," "To: Barthel,
12·   · · · · · ·    ·Frederick ...," Bates Stamp Nos.
· ·   · · · · · ·    ·USA005737 and USA005738, consecutively.
13
· ·   ·EXHIBIT 2·    ·Eight-page document entitled· · · · · · ·73
14·   · · · · · ·    ·INVESTIGATIVE REPORT IN THE MATTER
· ·   · · · · · ·    ·OF DISCRIMINATION OF: PAULINE VELEZ,
15·   · · · · · ·    ·COMPLAINANT, Bates Stamp Nos.
· ·   · · · · · ·    ·USA005703 through USA005710,
16·   · · · · · ·    ·inclusively.

17·   ·EXHIBIT 3·    ·Four-page document entitled PENDING· · · 73
· ·   · · · · · ·    ·APPOINTMENT SUMMARY BY SERVICE,
18·   · · · · · ·    ·Bates Stamp Nos. USA005588 through
· ·   · · · · · ·    ·USA005591, inclusively.
19
· ·   ·EXHIBIT 4·    ·Eight-page document entitled· · · · · · ·73
20·   · · · · · ·    ·APPOINTMENT - COMPLETED SUMMARY,
· ·   · · · · · ·    ·Bates Stamp Nos. USA005612 through
21·   · · · · · ·    ·USA005619, inclusively.

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· · · · · · · · · · · · · · ---o0o---
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·1· · · · · · · · · · · · · ---o0o---
·2· · · · · · · · · · ·MATHER, CALIFORNIA
·3· · · · · · · · · · MONDAY, MAY 10, 2021
·4· · · · · · · · · · · · · 10:02 A.M.
·5· · · · · · · · · · · · · ---o0o---
·6· · · · · · THE REPORTER:· Good morning.
·7· · · · · · My name is Adrienne Andreini, a State of
·8· ·California Certified Shorthand Reporter, and this
·9· ·deposition is being held via videoconferencing
10· ·equipment.
11· · · · · · The witness and reporter are not in the same
12· ·room.· The witness will be sworn in remotely pursuant to
13· ·agreement of all parties.
14· · · · · · The parties stipulate that the testimony is
15· ·being given as if the witness was sworn in person.
16· · · · · · Starting with Plaintiff's counsel, and one at a
17· ·time, please, do all attorneys agree?
18· · · · · · MR. HOYER:· That's right.· I agree.
19· · · · · · MS. SMITH:· For the defendant, I agree.
20· · · · · · THE REPORTER:· Dr. Cahill, do you agree?
21· · · · · · THE WITNESS:· Yes, I agree.
22· · · · · · · · · · · · · ---o0o---
23· ·//
24· ·//
25· ·//


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·1· · · · · · · · · · · · · ---o0o---
·2· · · · · · · · · · WILLIAM CAHILL, M.D.
·3· · · · · · ·having been first duly sworn, was
·4· · · · · · ·examined and testified as follows:
·5· · · · · · · · · · · · · ---o0o---
·6· · · · · · · · · EXAMINATION BY MR. HOYER
·7· · · · · · MR. HOYER:· Q.· Good morning, Dr. Cahill.
·8· · · · · · Have you ever had your deposition taken before?
·9· · · ·A.· ·Yes, I have.
10· · · ·Q.· ·When's the last time that you had your
11· ·deposition taken?
12· · · ·A.· ·I had a deposition in an EEO investigation
13· ·about a month ago, I think.
14· · · ·Q.· ·Okay.
15· · · · · · And was that as an employee of the VA?
16· · · ·A.· ·Yes.· It was regarding an employee of the VA.
17· · · ·Q.· ·Okay.
18· · · · · · Were you named in the Complaint, to your
19· ·knowledge?
20· · · ·A.· ·I was not the responding management official.
21· · · ·Q.· ·Okay.
22· · · · · · Was one of your subordinates named in the
23· ·Complaint?
24· · · ·A.· ·Yes, this -- that was my understanding.
25· · · ·Q.· ·Okay.


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·1· · · · · · And the nature of the claim, was that race
·2· ·discrimination, gender discrimination, something else;
·3· ·do you know?
·4· · · · · · MS. SMITH:· Objection.
·5· · · · · · You can answer, Mr. Cahill -- Dr. Cahill.
·6· · · · · · THE WITNESS:· Can you repeat the question.
·7· · · · · · MR. HOYER:· Q.· Yeah.
·8· · · · · · What type of claim was it?· Was it race
·9· ·discrimination, gender discrimination, harassment?· Do
10· ·you know?
11· · · ·A.· ·It was race and gender was [sic] predominantly
12· ·the concerns, as I recall.
13· · · ·Q.· ·Okay.
14· · · · · · And has there been a resolution in that case?
15· · · ·A.· ·Not that I have heard.
16· · · ·Q.· ·Okay.
17· · · · · · And prior to that, when was the last time that
18· ·you took -- you had your deposition taken?
19· · · ·A.· ·There have been other EEO investigations over
20· ·the years.
21· · · · · · There was a -- a deposition in -- and then
22· ·testimony in court about a case several years ago, and
23· ·there was a -- a deposition for a legal case that I was
24· ·involved in about 20 years ago at another facility.
25· ·That did not go to court, is my understanding.


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·1· · · ·Q.· ·Okay.
·2· · · · · · The one several years ago, were you named in
·3· ·the Complaint, to your knowledge?
·4· · · ·A.· ·N- -- No.· My understanding, I was a witness.
·5· · · ·Q.· ·Okay.
·6· · · · · · And are you aware of how that case turned out?
·7· · · ·A.· ·Yes.· There was a finding for the employee.
·8· · · ·Q.· ·And the case several years ago, what -- you
·9· ·said it was an EEO case?
10· · · ·A.· ·This revolved around the -- his termination of
11· ·his employment at the -- the VA.
12· · · ·Q.· ·Okay.
13· · · · · · Do you know whether the allegations in that
14· ·case involved discrimination or retaliation?
15· · · ·A.· ·It's been several years.· I don't recall
16· ·discrimination being part of that case.
17· · · ·Q.· ·What about retaliation?
18· · · ·A.· ·There may have been claims of retaliation with
19· ·that case.· It's been several --
20· · · ·Q.· ·Okay.
21· · · ·A.· ·-- years.
22· · · ·Q.· ·That's fine.
23· · · · · · And was that a case that went to court?
24· · · ·A.· ·Yes, that case went to court.
25· · · ·Q.· ·Okay.


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·1· · · · · · What was the -- Who was the plaintiff in that
·2· ·case?· Do you remember the name?
·3· · · ·A.· ·That was an anesthesiologist, Dr. Bonzani.
·4· · · ·Q.· ·Okay.· All right.
·5· · · · · · So let me go through the ground rules of the
·6· ·deposition just to refresh your recollection.
·7· · · · · · So you might notice Adrienne is on the screen
·8· ·there.· She's actually got a machine in front of her.
·9· ·She's taking down everything that's said, and for that
10· ·reason, it's important to remember a couple of things.
11· · · · · · One is that only one person can speak at any
12· ·one time.
13· · · · · · In conversation, sometimes if you think you
14· ·know where the question is going, you'll jump in just to
15· ·be helpful, but that doesn't work in this context.
16· · · · · · The other thing about her is that she can't
17· ·take down nonverbal answers, so you can't answer by
18· ·nodding your head or saying "uh-huh," something like
19· ·that.· Okay?
20· · · ·A.· ·Okay.
21· · · ·Q.· ·Now, occasionally your attorney will jump in
22· ·after I ask a question with an objection that she wants
23· ·to preserve for the record.
24· · · · · · Unless she instructs you not to answer,
25· ·however, you're obligated to answer the question.· Okay?


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·1· · · ·A.· ·Okay.
·2· · · ·Q.· ·And if you don't understand a question, I'm
·3· ·happy to rephrase it or to define any terms that I'm
·4· ·using, if you're confused about it or you think it's
·5· ·ambiguous.· I'm happy to do that.· And if you do answer
·6· ·the question, I'll assume that you understand the
·7· ·question.
·8· · · · · · At the end of the day, the court reporter will
·9· ·type up everything that's said into a booklet and
10· ·provide it to your attorney for your review, and at that
11· ·point you can change any of your answers.· You can
12· ·change your testimony if you want, but probably the best
13· ·practice, if you remember during the course of the
14· ·deposition today that you need to amend or change any
15· ·answer, just say so.· I'm happy to give you the
16· ·opportunity do so.
17· · · · · · If you do change your testimony later, I can
18· ·comment on that fact if the case goes to the jury.
19· · · · · · Now, one of the strange things about Zoom is
20· ·that I can't see everything that's going on in your
21· ·room.
22· · · · · · I assume that there's no one else there?
23· · · ·A.· ·There's --
24· · · ·Q.· ·Is that right?
25· · · ·A.· ·-- no one else here.


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·1· · · ·Q.· ·And can you turn off any texting or emails or
·2· ·direct messages.· ·You're not allowed to receive or send
·3· ·messages when you're testifying.
·4· · · ·A.· ·Okay.· Hold on a minute.
·5· · · ·Q.· ·Sure.
·6· · · ·A.· ·Okay.
·7· · · ·Q.· ·Okay.· Perfect.
·8· · · · · · Anytime you need to take a break, I'm happy to
·9· ·give you the opportunity to take a break to confer with
10· ·your attorney or do what's necessary.
11· · · · · · I would ask that you finish answering any
12· ·pending question before you take a break, however.
13· · · · · · Is there any reason why you can't give your
14· ·fullest and best testimony today?· For example, are you
15· ·on any medication that may affect your ability to
16· ·remember or think?
17· · · ·A.· ·No, there's no reason why I can't give
18· ·testimony today.
19· · · ·Q.· ·Okay.
20· · · · · · Have you ever been convicted of a felony?
21· · · ·A.· ·No.
22· · · ·Q.· ·Did you review any documents in preparation for
23· ·your testimony today?
24· · · · · · MS. SMITH:· Objection to the extent he reviewed
25· ·any documents -- Withdraw.


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·1· · · · · · Go ahead.· You can answer, Mr. -- Dr. Cahill.
·2· · · · · · THE WITNESS:· My only -- I had conversation
·3· ·with -- with the U.S. attorney on Friday.
·4· · · · · · MR. HOYER:· Q.· Okay.
·5· · · · · · So hold on.· I'm going to interrupt you right
·6· ·there.
·7· · · · · · I don't -- I never want to hear what you and
·8· ·your attorney talked about.· Sorry to interrupt you, but
·9· ·that's attorney-client privilege, and I definitely don't
10· ·want to hear that.
11· · · · · · So the question was just whether you reviewed
12· ·any documents in preparation for your testimony.
13· · · · · · MS. SMITH:· Objection.
14· · · · · · To the extent they refreshed his recollection,
15· ·he can answer.
16· · · · · · THE WITNESS:· Can you say it again?
17· · · · · · MS. SMITH:· Yeah, I can.
18· · · · · · So to the extent you reviewed any documents
19· ·that refreshed your recollection regarding this
20· ·incident, you can answer.
21· · · · · · THE WITNESS:· Because I had to respond to the
22· ·EEO investigation, I reviewed documents over time.
23· · · · · · MR. HOYER:· Q.· Okay.
24· · · · · · But nothing shortly before this deposition in
25· ·preparation for it?


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·1· · · ·A.· ·(No response.)
·2· · · · · · MS. SMITH:· You can answer, Dr. Cahill.
·3· · · · · · THE WITNESS:· No, I'm -- I'm sorry.· I'm
·4· ·thinking.
·5· · · · · · So I was trying -- I did review an email --
·6· ·trying to figure the -- the timeline of conversations
·7· ·that I had with Mr. Graham, Dr. Remler, Dr. Velez.
·8· · · · · · MR. HOYER:· Q.· Okay.
·9· · · · · · You said you reviewed an email.· Is that right?
10· · · ·A.· ·No.· There was -- So it would have been --
11· ·there was an email from Dr. Velez trying to set up a
12· ·conversation.· I had -- You know, so I had notes from
13· ·that call, notes from a call with Dr. Remler, and a
14· ·brief call from Dr. -- or Mr. Graham.
15· · · ·Q.· ·Anything else?
16· · · ·A.· ·No.
17· · · ·Q.· ·Okay.
18· · · · · · The email from Dr. Velez, approximately when
19· ·did you receive that originally?
20· · · ·A.· ·It was around the -- around the first of
21· ·November a couple years ago, so I guess it would have
22· ·been 2018.
23· · · ·Q.· ·Okay.
24· · · · · · And the notes from the call with her would have
25· ·followed that shortly; is that --


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·1· · · ·A.· ·Yeah.· I would say it was a couple weeks later,
·2· ·within the first part of November --
·3· · · ·Q.· ·Okay.
·4· · · ·A.· ·-- middle of November, sometime in there.
·5· · · · · · MR. HOYER:· Okay.
·6· · · · · · Counsel, have you produced the notes from these
·7· ·calls with Remler, Graham and Velez?
·8· · · · · · MS. SMITH:· As I sit here today, I cannot tell
·9· ·you what has been produced.
10· · · · · · If you make a demand for it, I'll follow up.
11· ·Any demand needs to be made in writing.
12· · · · · · MR. HOYER:· Q.· Dr. Cahill, do you have access
13· ·to those notes, as you sit there?
14· · · · · · MS. SMITH:· Objection.
15· · · · · · MR. HOYER:· Q.· You can answer.
16· · · ·A.· ·I have nothing in front of me.
17· · · ·Q.· ·Are those notes that you took handwritten notes
18· ·or on the computer or ...
19· · · ·A.· ·Those are handwritten notes.
20· · · ·Q.· ·And typically, where do you keep those -- is
21· ·there a place that you typically keep notes of
22· ·conversations?
23· · · ·A.· ·If -- Well, these would be normally in a file,
24· ·yes.
25· · · ·Q.· ·Okay.


                                William Cahill, M.D.
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·1· · · · · · And when you say "a file," what sort of file is
·2· ·it?
·3· · · ·A.· ·A file cabinet -- A file cabinet.
·4· · · ·Q.· ·And would the files be organized by, say,
·5· ·Dr. Velez had a file, Dr. Remler had a file, that sort
·6· ·of thing?
·7· · · · · · MS. SMITH:· Objection.· Leading.
·8· · · · · · THE WITNESS:· They would be --
·9· · · · · · MR. HOYER:· Q.· You can answer.
10· · · ·A.· ·I had a file regarding Dr. Velez's concerns.
11· ·In it was the notes from Dr. Remler.
12· · · · · · I have a separate neurology-service binder that
13· ·I keep where we have lots of -- had lots of
14· ·conversations with Dr. Remler.
15· · · ·Q.· ·Okay.
16· · · · · · But I'm interested in the -- the -- the issues
17· ·around Dr. Velez.
18· · · · · · So I think you said that you kept the notes of
19· ·your conversations with Remler about Velez in the Velez
20· ·file.
21· · · · · · Is that correct?
22· · · ·A.· ·Yes, that -- those notes are in there, yes.
23· · · ·Q.· ·And the Graham notes, the notes of the -- the
24· ·notes of the conversation with Graham about Velez,
25· ·they're also in the Velez file?


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·1· · · ·A.· ·That one conversation, yes.
·2· · · ·Q.· ·Okay.
·3· · · · · · Did you have other conversations with
·4· ·Mr. Graham about Dr. Velez --
·5· · · · · · MS. SMITH:· Ob- --
·6· · · · · · MR. HOYER:· Q.· -- that you keep somewhere
·7· ·else?
·8· · · · · · MS. SMITH:· Objection.
·9· · · · · · THE WITNESS:· No, I don't have -- I don't
10· ·recall any notes of any other conversations with
11· ·Mr. Graham about Dr. Velez.· We had lots of
12· ·conversations with Mr. Graham over the years.
13· · · · · · MR. HOYER:· Q.· ·All right.
14· · · · · · Did you provide this file to your attorney?
15· · · ·A.· ·No, I did not.
16· · · ·Q.· ·Okay.
17· · · · · · And if I were to ask for this file from your
18· ·attorney, just for ease of getting ahold of it, what
19· ·would -- what would I call it in order to identify it
20· ·easily with you?
21· · · ·A.· ·"The notes from phone call with Dr. Velez,
22· ·Dr. Remler regarding Dr. Velez as a CMO, and call with
23· ·Mr. Graham regarding Dr. Velez."
24· · · ·Q.· ·Okay.
25· · · · · · So those are the only three documents in that


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·1· ·file, the notes from the phone calls?
·2· · · ·A.· ·Those were the documents that I reviewed.
·3· · · ·Q.· ·What I'm asking is, are there other documents
·4· ·in that file?
·5· · · ·A.· ·There was a [sic] email from the U.S. attorney
·6· ·about setting this up.
·7· · · · · · MS. SMITH:· Objection.· Don't discuss the
·8· ·contents of any communication between you and the United
·9· ·States attorney.
10· · · · · · MR. HOYER:· Q.· All right.
11· · · · · · I'd ask you to identify documents, but you
12· ·don't need to tell me the content of any communications
13· ·with -- between you and the U.S. attorney.
14· · · · · · So other than that email and the three notes
15· ·from the three phone calls, what else is in that file;
16· ·do you know?
17· · · ·A.· ·There was an email from the VA attorney.
18· · · · · · MS. SMITH:· Again, objection.
19· · · · · · Do not discuss any communication between you
20· ·and attorneys.
21· · · · · · MR. HOYER:· Q.· And any other documents in that
22· ·file?
23· · · ·A.· ·I'm trying to recall.
24· · · · · · There may be notes from a couple of other phone
25· ·calls with Dr. Remler.


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·1· · · ·Q.· ·Anything else?
·2· · · ·A.· ·Not that I recall at this time.
·3· · · ·Q.· ·Were there notes from any phone calls with
·4· ·Mr. Stockwell in that file?
·5· · · ·A.· ·No.
·6· · · ·Q.· ·Okay.
·7· · · · · · Now, you mentioned Dr. Velez's concerns, and
·8· ·what were you referring to?
·9· · · ·A.· ·I was referring to the phone call we had in
10· ·that November.
11· · · ·Q.· ·Okay.
12· · · · · · What were the concerns, though, that were
13· ·addressed on that phone call?
14· · · ·A.· ·She talked about the program that she's had to
15· ·work on leg ulcers in veterans, and she -- how that was
16· ·going.· But she said that -- that was going well, and
17· ·there was no need to go further on that.
18· · · · · · And she talked about would I consider a --
19· ·creating a position of chief medical officer in the
20· ·Martinez campus and what my thoughts were about that.
21· · · ·Q.· ·And what were the thoughts, if any, that you
22· ·expressed on that phone call to her?
23· · · ·A.· ·We discussed that I had been trying for years
24· ·to ensure the service chiefs and section chiefs
25· ·understand that they have oversight of their clinical


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·1· ·programs throughout our whole organization, all 11 sites
·2· ·of care.
·3· · · · · · In that regard, I didn't want a separate chief
·4· ·medical officer position at any of the campuses.            I
·5· ·wanted the service chiefs and section chiefs to be
·6· ·responsible for what was happening there.
·7· · · · · · She mentioned that she wanted to have the
·8· ·ability to express concerns to the other clinical
·9· ·services, and I pointed out that, as the assistant chief
10· ·of surgery on that campus -- for that campus, she was in
11· ·position to talk to mis- -- the section chiefs and
12· ·service chiefs about any issues of cross-service care.
13· · · ·Q.· ·Okay.
14· · · · · · Did you express any other thoughts to her in
15· ·that phone call?
16· · · ·A.· ·Not that I recall.
17· · · ·Q.· ·And did she have any response to the thoughts
18· ·you just told me?
19· · · ·A.· ·Well, her response was the -- the comment that
20· ·she wanted to have the ability to express her concerns
21· ·to other clinical services, to which my response was
22· ·that she's in a position to speak to the section chiefs
23· ·and service chiefs as the assistant chief of surgery.
24· · · ·Q.· ·So what was your understanding of how issues
25· ·would be resolved?


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·1· · · · · · You said that you h- -- she had the ability to
·2· ·express her concerns to other service and section
·3· ·chiefs.
·4· · · · · · And -- But if, sort of, no one -- no medical
·5· ·officer is in charge there, how were things to be
·6· ·resolved, in your mind, if there was a disagreement
·7· ·between the doctors of two different services, for
·8· ·example?
·9· · · ·A.· ·Can -- Can you repeat the question?
10· · · · · · MR. HOYER:· Yeah.
11· · · · · · Can we have the question back.
12· · · · · · (Record was read by the reporter as follows):
13· · · · · · "Question:· So what was your
14· · · ·understanding of how issues would be resolved?
15· · · · · · "You said that you h- -- she had the
16· · · ·ability to express her concerns to other
17· · · ·service and section chiefs.
18· · · · · · "And -- But if, sort of, no one -- no
19· · · ·medical officer is in charge there, how were
20· · · ·things to be resolved, in your mind, if there
21· · · ·was a disagreement between the doctors of two
22· · · ·different services, for example?"
23· · · · · · THE WITNESS:· It is my expectation that the
24· ·service chiefs and section chiefs are leaders capable of
25· ·communicating and resolving issues as they come up.


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·1· · · · · · If they're unable to come to a resolution,
·2· ·whether as between section chiefs or service chief and a
·3· ·section chief, the discussion could be elevated to the
·4· ·section chief/service chief.
·5· · · · · · If they're unable to come to a resolution
·6· ·between two service chiefs, then the issue could come to
·7· ·my level or the deputy-chief-of-staff level to help find
·8· ·a resolution if it's an important pivotal issue.
·9· · · · · · (Interruption.)
10· · · · · · (Off the record.)
11· · · · · · MR. HOYER:· Q.· So some of the service chiefs
12· ·are located in Mather and some are in Martinez; correct?
13· · · ·A.· ·That is correct.· I also have one service chief
14· ·in Redding currently.
15· · · ·Q.· ·Okay.
16· · · · · · Are there issues that arise between services
17· ·and sections that are particular to a particular campus?
18· · · · · · MS. SMITH:· Objection.
19· · · · · · MR. HOYER:· Q.· You can answer.
20· · · ·A.· ·Yes, there would be.
21· · · ·Q.· ·Okay.
22· · · · · · And so when it comes to physical facilities,
23· ·would -- issues that arise between service -- two
24· ·different services that involve physical facilities on a
25· ·particular campus, would you expect that a site manager


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·1· ·would become involved in the negotiation of those
·2· ·issues?
·3· · · ·A.· ·There is the site manager, and we also may have
·4· ·a -- a space committee on that campus.
·5· · · ·Q.· ·Who's on the space committee?
·6· · · · · · MS. SMITH:· Objection as to what location
·7· ·you're talking about and at what point in time.
·8· · · · · · MR. HOYER:· It's present time.
·9· · · ·Q.· ·Are there differences between who's on what
10· ·types -- what types of people are on the space
11· ·committees in different campuses?
12· · · ·A.· ·I can't tell you who the membership currently
13· ·is on any of the space committees, whether it's by a
14· ·specific campus or the overall -- There's an overall
15· ·space committee also for the -- Northern California.
16· · · · · · I believe the associate director for Sac Valley
17· ·is on the overall space committee.· There's clinical
18· ·representation; there's administrative representation.
19· · · ·Q.· ·Okay.
20· · · · · · Let's take a step back and get -- get your
21· ·background.
22· · · · · · ·You're currently employed by the VA Northern
23· ·California Health service?
24· · · ·A.· ·By the VA Northern California Health Care
25· ·System, yes.


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·1· · · ·Q.· ·And for ease of reference, a couple of the
·2· ·other witnesses have referred to it just as "NorCal."
·3· · · · · · Does that work for you?
·4· · · ·A.· ·Yes, it does.
·5· · · ·Q.· ·Okay.
·6· · · · · · And when did you first begin working for
·7· ·NorCal?
·8· · · ·A.· ·Around March of 2008.
·9· · · ·Q.· ·Before that, where were you?
10· · · ·A.· ·I was the chief of staff at VA Central
11· ·California Health Care System.
12· · · ·Q.· ·Where is that located?
13· · · ·A.· ·The main facility's in Fresno.
14· · · ·Q.· ·Okay.
15· · · · · · Did you have any interaction with Mr. Stockwell
16· ·when you were at -- in Fresno?
17· · · ·A.· ·No.
18· · · ·Q.· ·And you're a neurologist by specialty?
19· · · ·A.· ·I am a neurologist.
20· · · ·Q.· ·Okay.
21· · · · · · And what was the reason that you moved up here
22· ·from Fresno?
23· · · ·A.· ·Like many decisions, would have different
24· ·facets to it.
25· · · · · · One was for family.· I was concerned about how


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·1· ·our youngest son was doing in the school system there,
·2· ·and we didn't see much hope from witnessing what his two
·3· ·older sisters had gone through in that community.
·4· · · · · · Separately, this was a larger organization with
·5· ·more things going on here than we were at the smaller
·6· ·facility in VA Central.
·7· · · ·Q.· ·Okay.
·8· · · · · · So you're the chief of staff?
·9· · · ·A.· ·Yes, I am the chief of staff at NorCal.
10· · · ·Q.· ·And can you briefly describe your job duties as
11· ·chief of staff.
12· · · ·A.· ·Briefly, I'm responsible for the health of
13· ·around a hundred thousand veterans who live in NorCal's
14· ·territory.
15· · · ·Q.· ·And can you tell me, what -- what percentage of
16· ·the time do you spend practicing neurology as opposed to
17· ·being the chief of staff?
18· · · · · · MS. SMITH:· Objection.
19· · · · · · To the extent you can answer, go ahead.
20· · · · · · THE WITNESS:· The majority of my time is in an
21· ·administrative position as the chief of staff.· I have a
22· ·clinic on Friday mornings.
23· · · · · · MR. HOYER:· Q.· When did you first meet
24· ·Dr. Velez?
25· · · ·A.· ·I don't recall the -- our first meeting, but


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·1· ·likely it would have been in 2008.
·2· · · ·Q.· ·And at the time, did you have interactions with
·3· ·her in her role as site manager for Martinez?
·4· · · ·A.· ·It would be more likely that my interactions
·5· ·would have been related to her position in surgery
·6· ·and -- at that campus.
·7· · · ·Q.· ·Okay.
·8· · · · · · So over the years, have you had much
·9· ·interaction with her in her role as site manager until
10· ·that ended in 2018?
11· · · ·A.· ·I would say that I had little interaction with
12· ·her regarding that particular role.
13· · · · · · I recall some discussions that were going on
14· ·between Dr. Velez and our chief of medicine at the time
15· ·over the use of the GI procedural area there in
16· ·Martinez, which is shared with some OR and recovery
17· ·space.
18· · · ·Q.· ·And was that interaction --
19· · · · · · (Pauline M. Velez joins the proceeding via
20· ·audioconferencing.)
21· · · · · · MR. HOYER:· That's strange.· I've got -- Sorry.
22· ·Off the record.
23· · · · · · (Off the record.)
24· · · · · · MR. HOYER:· Let's go back on the record.
25· · · ·Q.· ·Now, this situation that you just described


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·1· ·regarding the issue of gastroenterology issues on the
·2· ·Martinez campus and gastroenterology -- Did I get that
·3· ·right?
·4· · · ·A.· ·Yes.
·5· · · ·Q.· ·And was that an issue that arose in terms of
·6· ·your interaction with her because of her role as site
·7· ·manager, or was that her role as a surgeon?
·8· · · · · · MS. SMITH:· Objection.
·9· · · · · · You can answer.
10· · · · · · THE WITNESS:· Likely both.
11· · · · · · MR. HOYER:· Q.· And how much interaction did
12· ·you have with her on that issue?
13· · · ·A.· ·At that time, it was more trying to get an
14· ·understanding of what we could do to improve the flow of
15· ·GI cases through the space versus other needs for that
16· ·space.
17· · · ·Q.· ·And was she helpful in improving the flow?
18· · · ·A.· ·I don't believe that was the opinion of the
19· ·chief of medicine.· We had ongoing issues for a period
20· ·of time 'cause of the requirements on that space.
21· · · ·Q.· ·What was the opinion -- Well, who was the chief
22· ·of medicine at that time?
23· · · ·A.· ·That would have been Dr. Siegel.
24· · · ·Q.· ·Can you spell that.
25· · · ·A.· ·I believe it's S-i-e-g-e-l.


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·1· · · ·Q.· ·And what was the opinion of Dr. Siegel?
·2· · · ·A.· ·He wanted to see more time devoted to GI
·3· ·procedures so that we could do more procedures there.
·4· · · ·Q.· ·And -- Well, did you have an opinion that she
·5· ·was not being helpful?
·6· · · · · · MS. SMITH:· Objection.
·7· · · · · · MR. HOYER:· Q.· You can answer.
·8· · · ·A.· ·They had a -- multiple back-and-forth
·9· ·communications that I was on.
10· · · ·Q.· ·Was it the opinion of Dr. Siegel that she was
11· ·not being helpful?
12· · · · · · MS. SMITH:· Objection.· Calls for speculation.
13· · · · · · MR. HOYER:· Q.· You can answer.
14· · · ·A.· ·I think Dr. Siegel was frustrated that he
15· ·couldn't get the space-utilization issue resolved so
16· ·that they could get more GI cases through.
17· · · ·Q.· ·And what was your involvement in this issue?
18· · · ·A.· ·I was just trying to understand how the space
19· ·was being used since in my position I -- I am
20· ·responsible for access to care, which would include GI
21· ·procedures but would also include surgical procedures.
22· · · ·Q.· ·And did you come to some opinion about what
23· ·should be done in that case?
24· · · ·A.· ·Mainly that the -- the two of them should work
25· ·out and consider what other options there might be to


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·1· ·increase the utilization for both purposes.
·2· · · ·Q.· ·Did they do that?
·3· · · ·A.· ·That issue seemed to have resolved over time.
·4· · · ·Q.· ·Did you have an understanding that in that
·5· ·issue, Dr. Velez was incorrect in some respect?
·6· · · · · · MS. SMITH:· Objection.
·7· · · · · · MR. HOYER:· Q.· You can answer.
·8· · · ·A.· ·I think they both needed to see there was [sic]
·9· ·other options that could be created.
10· · · ·Q.· ·And did you have any other issues with which
11· ·you worked with Dr. Velez that developed an opinion
12· ·about what she was like to work with?
13· · · · · · MS. SMITH:· Objection.
14· · · · · · MR. HOYER:· Q.· You can answer.
15· · · ·A.· ·Can you clarify what you mean by "issues"?
16· · · ·Q.· ·Well, you described that gastroenterology issue
17· ·that you interacted with her on.
18· · · · · · I'm wondering whether there were any other
19· ·issues you dealt with her on.
20· · · ·A.· ·Not that I recall.
21· · · ·Q.· ·Okay.
22· · · · · · You're aware that Dr. Velez is Hispanic?
23· · · ·A.· ·Yes, I am.
24· · · ·Q.· ·And when did you first become aware of that?
25· · · ·A.· ·Her husband told me that.


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·1· · · ·Q.· ·How long ago was that?
·2· · · ·A.· ·I don't recall.· We've had multiple
·3· ·conversation over the years.
·4· · · ·Q.· ·Are you aware of how many Hispanic physicians
·5· ·are employed by NorCal?
·6· · · ·A.· ·No.· I don't know that number offhand.
·7· · · ·Q.· ·Can you give me an estimate?
·8· · · ·A.· ·No.
·9· · · ·Q.· ·And how many physicians are site managers in
10· ·NorCal; do you know?
11· · · ·A.· ·Currently, there is one.
12· · · ·Q.· ·Who is that?
13· · · ·A.· ·Dr. Addagatla.
14· · · ·Q.· ·And how many physicians in NorCal, as a
15· ·percentage, do --
16· · · · · · (Remote videoconferencing stream nonexistent.)
17· · · · · · (Off the record.)
18· · · · · · MR. HOYER:· Are we ready to go back on the
19· ·record?
20· · · · · · THE REPORTER:· Yes.
21· · · · · · MS. SMITH:· Yes.
22· · · · · · MR. HOYER:· Okay.
23· · · ·Q.· ·Dr. Cahill, so I was asking you -- as a
24· ·percentage of physicians, I wanted to ask about what
25· ·percentage do administrative work.· And when I say


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·1· ·"administrative work," I mean administrative work beyond
·2· ·the sort of physician-related administrative work of
·3· ·filling out charts and stuff about your pa- -- your own
·4· ·patients.
·5· · · · · · Do you understand the distinction?
·6· · · ·A.· ·Yes.
·7· · · · · · As I understand it, you're asking who has
·8· ·administrative work as a leadership or management, which
·9· ·would be largely the service chiefs and section chiefs.
10· · · ·Q.· ·Okay.
11· · · · · · What about the assistant service chiefs?
12· · · ·A.· ·The assistant service chief would be in that
13· ·same role.
14· · · · · · There may be a lead physician, like Dr. Carter
15· ·on Martinez, in primary care who might have more
16· ·administrative time than the other primary-care
17· ·providers on that campus.
18· · · ·Q.· ·You refer to Dr. Carter.
19· · · · · · So what's the distinction between a lead
20· ·physician and an assistant service chief or service
21· ·chief?
22· · · ·A.· ·Well, Dr. Carter is the -- is in primary care,
23· ·and on that campus he supervises the -- the rest of the
24· ·primary-care providers there.· There's -- separate from
25· ·Dr. Strohecker, who is the service chief, and -- or


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·1· ·Dr. Fisher, who is the assistant service chief, who are
·2· ·overseeing all campuses.
·3· · · ·Q.· ·And why is -- why is there a need to have
·4· ·somebody beyond the service chief and the assistant
·5· ·service chief on Martinez have a leadership role in
·6· ·terms of primary care?
·7· · · ·A.· ·Primary care is at all our sites of care, all
·8· ·11, and there's someplace around 400 staff total in
·9· ·primary care.
10· · · · · · So having a leader in primary care would be
11· ·helpful both for communication up and down within
12· ·primary care as well as a -- a direct point of contact
13· ·for other services on the campus who want to collaborate
14· ·with them.
15· · · ·Q.· ·Well, earlier you testified that you had a goal
16· ·of ensuring that the service chiefs ran each service
17· ·across all of the campuses, and I'm just wondering, why
18· ·have somebody that's site-specific if your goal is to
19· ·have somebody running the service consistently for all
20· ·the sites?
21· · · · · · MS. SMITH:· Objection, to the extent that's a
22· ·question.
23· · · · · · To the extent you understand.
24· · · · · · MR. HOYER:· Q.· You can answer.
25· · · ·A.· ·Can you clarify -- You -- Can you clarify that


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·1· ·again, please?
·2· · · · · · MR. HOYER:· Q.· Yeah.
·3· · · · · · Earlier you testified you had a goal that you
·4· ·expressed to Dr. Velez when she asked to be chief
·5· ·medical officer at Martinez.· You said you wanted to
·6· ·encourage the service chiefs to be running things across
·7· ·the campuses.
·8· · · · · · Is that correct?
·9· · · ·A.· ·Yes.
10· · · ·Q.· ·And so isn't it -- isn't having a lead
11· ·physician in a particular service at one site
12· ·inconsistent with that goal?
13· · · ·A.· ·No.
14· · · ·Q.· ·Are there lead physicians in primary care at
15· ·other sites?
16· · · ·A.· ·Yes, there are.
17· · · · · · That structure supports primary-care
18· ·communication organizationally up and down within
19· ·primary care.
20· · · · · · Primary care still has the responsibility of
21· ·standardizing the care throughout all 11 sites.· This is
22· ·a mechanism to help them achieve that.
23· · · ·Q.· ·So your understanding is that, as lead
24· ·physician, Dr. Cart- -- Dr. Carter, is it?
25· · · ·A.· ·Yes.


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·1· · · ·Q.· ·Is that right?
·2· · · · · · (continuing) -- doesn't deal with any
·3· ·site-specific issues in Martinez.
·4· · · ·A.· ·He does.
·5· · · · · · MS. SMITH:· Objection.
·6· · · · · · Go -- You can answer.
·7· · · · · · THE WITNESS:· He deals with site-specific
·8· ·issues within primary care.
·9· · · · · · MR. HOYER:· Q.· So if Dr. Carter were to have
10· ·an issue -- a disagreement with another service about
11· ·the provision of medical care at Martinez, would he go
12· ·up to the service chief and have the service chief
13· ·negotiate with another service chief, or would he deal
14· ·with things directly on the Martinez campus?
15· · · · · · What's your understanding of the structure?
16· · · ·A.· ·The expectation is if there was a disagreement
17· ·about how they should approach care with -- I don't
18· ·know -- the nephrologist on that campus, that the two of
19· ·them would have the discussion and try to understand the
20· ·pros and cons and what could be -- be done.· The
21· ·implication would be most of this would be handled at
22· ·that level.
23· · · · · · If there was an ongoing concern that the
24· ·nephrologist is asking for too much from the
25· ·primary-care providers, for instance, then Dr. Carter


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·1· ·would discuss that with his leadership, who may provide
·2· ·guidance on what -- what to do.· They may also have
·3· ·separate conversations with the chief of nephrology or
·4· ·the chief of medicine.
·5· · · ·Q.· ·So when Dr. Velez proposed that she be the
·6· ·chief medical officer of Martinez, was it your
·7· ·understanding that, if she were to take that role, she
·8· ·would interfere with the process that you just
·9· ·described?
10· · · · · · MS. SMITH:· Objection.· Leading; confusing.
11· · · · · · MR. HOYER:· Q.· You can answer.
12· · · ·A.· ·Can you clarify the question, please?
13· · · ·Q.· ·Yeah.
14· · · · · · You just described a process by which two
15· ·different services would resolve issues on the Martinez
16· ·campus, and my question is:· When Dr. Velez proposed
17· ·that she be the chief medical officer on Martinez, was
18· ·it your belief that her occupying that position would
19· ·interfere with the process that you just described?
20· · · ·A.· ·My discussion with Dr. Velez was about the CMO
21· ·position itself, not her in particular.
22· · · · · · The concern would be that a -- if a -- if a
23· ·s- -- any kind of CMO position at a site might create a
24· ·separate standard of care at that site than what I'm
25· ·asking for.· And all of cardiology is to be handled the


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·1· ·same way at all sites for cardiology services offered.
·2· ·All the medicine services are -- have a standard
·3· ·approach across the system.
·4· · · ·Q.· ·So your concern was that if Dr. Velez were to
·5· ·be the C- -- CMO, she would be telling the cardiologists
·6· ·how to do their specialty in some way that's
·7· ·inconsistent with other cardiologists on other campuses;
·8· ·is that correct?
·9· · · · · · MS. SMITH:· Objection.
10· · · · · · THE WITNESS:· No.· No.
11· · · · · · The -- What I -- What I said was the CMO --
12· ·What I said was the -- the CMO could set up a different
13· ·standard of practice at a site separate from what we
14· ·wanted/the cardiology chief wanted to have throughout
15· ·the system.
16· · · · · · MR. HOYER:· Q.· Can you give me an example when
17· ·you say "standard of practice."
18· · · · · · What do you mean by that?
19· · · ·A.· ·Approach -- So the standard of practice
20· ·might -- might include a whole variety of things related
21· ·to the clinical care, whether it was any focus on access
22· ·or productivity or how the clinics were structured.
23· · · ·Q.· ·Did you tell Dr. Velez this concern?
24· · · ·A.· ·Yes.· That was the discussion that we had, was
25· ·that I want- -- it was my expectation that the section


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·1· ·chiefs and service chiefs were focusing on the care in
·2· ·their area throughout the system.
·3· · · ·Q.· ·But you don't have a concern that Dr. Carter
·4· ·might set up a separate standard of care with respect to
·5· ·primary care from the other campuses?
·6· · · · · · (Interruption.)
·7· · · · · · THE WITNESS:· Now I'm confused what the
·8· ·question was.
·9· · · · · · Could you repeat it, please.
10· · · · · · MR. HOYER:· Yeah.
11· · · · · · Can we have the question back.
12· · · · · · (Record was read by the reporter as follows):
13· · · · · · "Question:· But you don't have a concern
14· · · ·that Dr. Carter might set up a separate
15· · · ·standard of care with respect to primary care
16· · · ·from the other campuses?"
17· · · · · · THE WITNESS:· No, I do not.
18· · · · · · (Pauline M. Velez exits audioconferencing
19· ·appearance.)
20· · · · · · MR. HOYER:· Q.· Now, you said that you were
21· ·concerned that having a CMO in Martinez might affect the
22· ·standard of care in terms of access or productivity or
23· ·the structure of the clinics.
24· · · · · · Is that right?
25· · · · · · (Pauline M. Velez resumes audioconferencing


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·1· ·appearance.)
·2· · · · · · MS. SMITH:· Objection.· Mischaracterization of
·3· ·testimony.
·4· · · · · · MR. HOYER:· Q.· That's the question.
·5· · · · · · Is that right?
·6· · · ·A.· ·A concern that a chief medical officer might
·7· ·change the direction for clinical staff at a given site
·8· ·away from the standardized approach and quality metrics
·9· ·that were being applied acrost [phonetic] all sites by
10· ·the service or section chiefs.
11· · · ·Q.· ·Is it your understanding that Dr. Velez had
12· ·done any of that in her role as site manager?
13· · · · · · MS. SMITH:· Objection.
14· · · · · · MR. HOYER:· Q.· You can -- You can answer.
15· · · ·A.· ·Not that I recall.
16· · · ·Q.· ·Is it your understanding that Dr. Velez was
17· ·proposing that she be able to do that in a role as CMO?
18· · · ·A.· ·I told her I'm -- was not in favor of letting a
19· ·chief medical officer at any of our campuses because I
20· ·wanted the section chiefs and service chiefs to be
21· ·paying attention to the care that was -- that they were
22· ·responsible for throughout the system at all sites.
23· · · · · · MR. HOYER:· Could we have my question back,
24· ·please.
25· · · · · · (Record was read by the reporter as follows):


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·1· · · · · · "Question:· Is it your understanding that
·2· · · ·Dr. Velez was proposing that she be able to do
·3· · · ·that in a role as CMO?"
·4· · · · · · THE WITNESS:· She did not say that in so many
·5· ·words.
·6· · · · · · MR. HOYER:· Q.· Did she imply that somehow?
·7· · · · · · MS. SMITH:· Objection.
·8· · · · · · THE WITNESS:· That wasn't part of the
·9· ·conversation that we had.
10· · · · · · MR. HOYER:· Q.· Okay.
11· · · · · · Did she imply it in some other way, some
12· ·document, some o- -- some conversation that you
13· ·overheard, what somebody else told you about what she
14· ·wanted to do as CMO?
15· · · ·A.· ·No.
16· · · ·Q.· ·Doctor, were you aware of Dr. Velez's prior
17· ·lawsuit against the Air Force?
18· · · ·A.· ·I had heard that there was a lawsuit years
19· ·before I got to VA Northern Cal.
20· · · ·Q.· ·Where did you hear that from?
21· · · ·A.· ·I heard, over the years, from -- I heard from
22· ·different people.· Dr. Green told me; Dr. Remler told
23· ·me.
24· · · ·Q.· ·Mr. Stockwell?
25· · · ·A.· ·I think Mr. Stockwell wasn't around in Northern


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·1· ·California at that time either.
·2· · · ·Q.· ·I'm asking who you heard that from, whether you
·3· ·heard it from Mr. Stockwell.
·4· · · ·A.· ·No, I did not hear it from Mr. Stockwell.
·5· · · ·Q.· ·Mr. Graham?
·6· · · ·A.· ·I don't recall hearing it from Mr. Graham
·7· ·either.
·8· · · ·Q.· ·Dr. Hundahl?
·9· · · ·A.· ·Likely heard it from Dr. Hundahl at some point.
10· · · ·Q.· ·Dr. Addagatla:· Do you have an understanding of
11· ·how much time she spent in her clinical role versus her
12· ·role as site manager?
13· · · ·A.· ·I don't know the split that she has.
14· · · ·Q.· ·Okay.
15· · · · · · Have you heard that Dr. Velez has helped other
16· ·employees of the D of VA with EEO complaints?
17· · · ·A.· ·I had not heard that.
18· · · ·Q.· ·So you have not heard that Dr. Velez helped
19· ·Dr. Martin with an EEO issue regarding Dr. Lazzarino?
20· · · ·A.· ·I don't recall that, but it wouldn't surprise
21· ·me that she was trying to be supportive of her
22· ·[inaudible].
23· · · ·Q.· ·Sorry?
24· · · · · · MS. SMITH:· Yeah.· I'm sorry.· Can we -- Can we
25· ·take a five-minute break, please?· I need to use the


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·1· ·restroom.
·2· · · · · · MR. HOYER:· Okay.· Yeah.· Let's come back at
·3· ·11:25.
·4· · · · · · THE WITNESS:· Could we, actually, make -- make
·5· ·that ten minutes?
·6· · · · · · MS. SMITH:· Yes.· 11:25 is ten minutes.· Thank
·7· ·you.
·8· · · · · · (Recess taken.)
·9· · · · · · MR. HOYER:· Okay.· Back on the record.
10· · · ·Q.· ·Have you received -- Did you receive any
11· ·feedback on Dr. Velez from Dr. Hundahl at any point?
12· · · · · · MS. SMITH:· Objection.
13· · · · · · MR. HOYER:· Q.· You can answer.
14· · · ·A.· ·We had discussions in my -- our regular
15· ·meetings about the operations of the surgery service and
16· ·how things were going in different sections, different
17· ·campuses.
18· · · ·Q.· ·Did Dr. Hundahl ever give you an opinion of
19· ·what he felt it was like to work with Dr. Velez?
20· · · · · · MS. SMITH:· Objection.
21· · · · · · THE WITNESS:· Our conversations would have
22· ·focused on performance of -- of the services -- I mean,
23· ·the sections and the service as a whole across the
24· ·system.
25· · · · · · MR. HOYER:· Q.· Okay.


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·1· · · · · · So he never told you his opinion of her
·2· ·performance in her role as site manager?
·3· · · ·A.· ·He would not have been over the site-manager
·4· ·role, wouldn't have been in his purview.
·5· · · ·Q.· ·I'm just wondering if he expressed any opinion
·6· ·to you about her in her role as site manager.
·7· · · ·A.· ·Not that I recall.
·8· · · ·Q.· ·Okay.
·9· · · · · · Now, were you aware that Dr. Velez helped
10· ·Dr. Dow when Dr. Hundahl wanted extra fitness-for-duty
11· ·evaluations after his heart attack?
12· · · ·A.· ·Can you clarify which person you're talking
13· ·about?
14· · · ·Q.· ·Dr. Dow.· Are you familiar with a Dr. Dow,
15· ·D-o-w?
16· · · ·A.· ·There was -- Years ago we had a surgeon who had
17· ·a medical event happen while he was on vacation, I
18· ·believe, in Hawaii, and there was a prolonged period of
19· ·recovery.· I'm not sure if that's the person that you're
20· ·speaking of.
21· · · ·Q.· ·I'm just asking about whether you were aware of
22· ·Dr. Velez assisting that person with respect to
23· ·Hundahl's demand that he undergo extra fitness-for-duty
24· ·evaluations.
25· · · ·A.· ·No, I do not recall that.


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·1· · · ·Q.· ·Okay.
·2· · · · · · What about Dr. Forest when Dr. Hundahl wanted
·3· ·her privileges placed in abeyance due to complications
·4· ·from her cancer treatment?
·5· · · · · · MS. SMITH:· Objection.· What's the question?
·6· · · · · · MR. HOYER:· Q.· Were you aware that Dr. Velez
·7· ·assisted her?
·8· · · ·A.· ·Can you clarify what you mean by "assisted."
·9· · · ·Q.· ·Dealing with Dr. Hundahl's request that her
10· ·privileges be placed in abeyance.
11· · · ·A.· ·I recall that Dr. Velez was trying to see if
12· ·there was [sic] ways that Dr. Forest could still support
13· ·the activities of the service.
14· · · ·Q.· ·And did you have an opinion about whether
15· ·Dr. Velez's efforts were appropriate in that regard?
16· · · · · · MS. SMITH:· Objection.
17· · · · · · MR. HOYER:· Q.· You can answer.
18· · · ·A.· ·As I recall, her efforts were centered around
19· ·how can we support this -- the surgeon, not that she was
20· ·focused on that she should do everything that she was
21· ·doing before.
22· · · ·Q.· ·Yeah.
23· · · · · · My question is whether you developed an opinion
24· ·about whether Dr. Velez's assistance in that issue was
25· ·appropriate or not.


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·1· · · ·A.· ·I thought she was being appropriate in the
·2· ·discussions that I heard.
·3· · · ·Q.· ·Okay.
·4· · · · · · Are you aware of any other ways that Dr. Velez
·5· ·has helped with EEO complaints?
·6· · · · · · MS. SMITH:· Objection.
·7· · · · · · THE WITNESS:· No.· No, I don't recall any --
·8· ·any physician that she's been involved with in an EEO
·9· ·complaint.
10· · · · · · MR. HOYER:· Q.· What about any staff member?
11· · · ·A.· ·I don't recall Dr. Velez being involved in an
12· ·EEO complaint from a staff member.
13· · · ·Q.· ·Now, at some point Dr. Velez applied to be the
14· ·chief of surgery?
15· · · ·A.· ·Yes, she did.
16· · · ·Q.· ·Okay.
17· · · · · · Were you involved in that process?
18· · · ·A.· ·Yes, I was.
19· · · ·Q.· ·And did you have an opinion of whether she was
20· ·the best candidate for the job?
21· · · ·A.· ·Yes, I did.
22· · · ·Q.· ·What was the opinion?
23· · · ·A.· ·My opinion was that Dr. Fuller would be a
24· ·better candidate for the position.
25· · · ·Q.· ·And what's the basis for your opinion?


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·1· · · ·A.· ·We have a pretty involved process for selecting
·2· ·service chiefs.· I'm the selecting official for the ones
·3· ·that report directly to me.
·4· · · · · · I appoint a panel and a panel chair to go
·5· ·through a multi-step process.
·6· · · · · · The first phase is review the CVs and rank them
·7· ·by some sort of scale that they develop.· Then they make
·8· ·recommendations on who they want to have phone
·9· ·interviews with.
10· · · · · · And from that outcome, they make
11· ·recommendations of, typically, two to three people that
12· ·they would like to see invited for a face-to-face visit,
13· ·and then they interview with me as the selecting
14· ·official.
15· · · ·Q.· ·So the face-to-face interview is just with you,
16· ·or it's with a panel as well?
17· · · ·A.· ·The face-to-face interview that -- is with me.
18· ·The panel members are encouraged to meet with the
19· ·candidates when they come for meet-and-greets.
20· · · · · · At the face-to-face visit, we offer time at
21· ·both the Martinez campus and the Mather campus with a
22· ·meet-and-greet to be able to talk to staff and hear
23· ·their questions.
24· · · · · · And so I encourage the panel members to attend
25· ·those so that they can put a -- a face with a -- the


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·1· ·name, if possible.
·2· · · ·Q.· ·Now, the panel rated the CVs?· Did I get that
·3· ·correct?
·4· · · ·A.· ·Yes.· That's the first step.
·5· · · ·Q.· ·The first step, yeah.
·6· · · · · · And do you remember how the CVs were ranked,
·7· ·Dr. Velez's compared to others?
·8· · · ·A.· ·Oh.
·9· · · · · · She was in the -- the top group, because her
10· ·name was forwarded to the next level for the phone
11· ·interviews.
12· · · ·Q.· ·The top group was comprised of three
13· ·physicians; is that correct?
14· · · ·A.· ·No.· That would have been, I think, around six
15· ·physicians.· Six candidates were moved forward from the
16· ·CV to the phone-interview level.
17· · · · · · It was out of the phone-interview level that
18· ·three names were put forward for interview face-to-face
19· ·with me.
20· · · ·Q.· ·And it was -- the three were Dr. Velez,
21· ·Dr. Fuller, and another person?
22· · · ·A.· ·Yes.· Dr. Wren [phonetic].
23· · · ·Q.· ·And was Dr. Wren a male or female?
24· · · ·A.· ·Female.
25· · · ·Q.· ·And were the phone interviews ranked by the


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·1· ·panel --
·2· · · ·A.· ·Yes.
·3· · · ·Q.· ·-- of the three?
·4· · · ·A.· ·Yes.
·5· · · ·Q.· ·And how was Dr. Velez's ranked versus Fuller
·6· ·and Wren?
·7· · · ·A.· ·I th- -- I don't recall.· I believe she was the
·8· ·third of the three, but I don't recall the specifics.
·9· · · ·Q.· ·So she was ranked lowest of the three, as far
10· ·as you can recall?
11· · · ·A.· ·Right, but in the top group from the six that
12· ·were originally put forward for the phone interview.
13· · · ·Q.· ·Okay.
14· · · · · · And how was the feedback from the panel
15· ·conveyed to you?· Was it in writing?· In oral
16· ·conversations?
17· · · ·A.· ·So I get -- I asked for a spreadsheet with the
18· ·names and, basically, "Panel Member 1," "2," "3," "4,"
19· ·whatever, so I -- I don't know who -- which -- which
20· ·panel member said what, per se, but I do know which --
21· ·which candidate they're scoring.· It allows me to take a
22· ·look at who made --
23· · · · · · The different panel members had a different
24· ·kind of range where they voted people -- or scored
25· ·people in.


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·1· · · · · · But I do often tell that a given candidate is
·2· ·in the top first or top two choices from multiple panel
·3· ·members, so I get a sense of relative ranking, how
·4· ·they -- how they score, as well as there's a sum-total
·5· ·or average score for each candidate from the panel.
·6· · · ·Q.· ·Okay.
·7· · · · · · Now, what was your impression in terms of the
·8· ·face-to-face interviews of how the three -- the top
·9· ·three ranked?
10· · · ·A.· ·The interview with Dr. Wren was very
11· ·impressive, and I wanted to pursue her as the service
12· ·chief, likely would've further, except for she quickly
13· ·stopped responding to us after a face-to-face interview.
14· ·Meanwhile, I was conducting the other two interviews
15· ·with Dr. Fuller and Dr. Velez.
16· · · ·Q.· ·And how did those two interviews go in terms of
17· ·relative success?
18· · · ·A.· ·I'm sorry; I missed the last part of that.
19· · · ·Q.· ·In terms of the relative success of the --
20· · · ·A.· ·Oh.
21· · · ·Q.· ·-- interviews.
22· · · ·A.· ·I think that Dr. Fuller did a better job in his
23· ·interview overall than -- than Dr. Velez did.
24· · · ·Q.· ·Why is that?
25· · · ·A.· ·He provided more current examples of what he


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·1· ·was doing.· He provided a more system-wide view of his
·2· ·approach of what he would like to see taken.
·3· · · ·Q.· ·And do you remember anything in particular
·4· ·about those two items?
·5· · · ·A.· ·Can you clarify that question?
·6· · · ·Q.· ·Yeah.
·7· · · · · · I think you just listed two items of why you
·8· ·thought he did better in his interview, and I'm asking
·9· ·whether you remember anything in particular.
10· · ·So on the systems view, I have a question that -- a
11· ·particular question about our organization that I ask of
12· · · all the service-chief candidates for the various
13· ·services.· And Dr. Fuller expressed, I think in a better
14· · way, his view of how he would connect with the -- the
15· ·marrying at all sites, how the surgeries and different
16· · · · subspecialties might interact with the sites,
17· · ·particularly with throughout veterans our system.
18· · · · · · Dr. Velez has done work outs- -- has taken more
19· ·of a systems view including some of her health work over
20· ·the years, which I don't recall her actually mentioning
21· ·in that session very much.
22· · · · · · But her -- she made comments to the effect that
23· ·there was too much focus on Mather and there needed to
24· ·be more focus elsewhere, which is a way of saying --
25· ·taking a systems view, but I believe Dr. Fuller


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·1· ·expressed the view better.
·2· · · · · · As far as the responses, concurrent examples,
·3· ·Dr. Fuller gave more current examples to various
·4· ·questions.
·5· · · · · · There was [sic] a couple occasions where
·6· ·Dr. Velez's main response was related to something that
·7· ·happened 20 or 30 years ago.· That is okay to set as a
·8· ·historical background and share -- show you "I've been
·9· ·concerned with this about" -- "all my career," but she
10· ·basically left it at that.
11· · · ·Q.· ·Now, you -- you directly supervised Dr. Hundahl
12· ·when he was at NorCal; is that right?
13· · · ·A.· ·Yes, I did.
14· · · ·Q.· ·Okay.
15· · · · · · And did you ever receive any complaints from
16· ·anyone about his behavior toward them?
17· · · · · · MS. SMITH:· Objection.
18· · · · · · MR. HOYER:· Q.· You can answer.
19· · · ·A.· ·Can you clarify the -- what you're l- -- asking
20· ·about?
21· · · · · · MR. HOYER:· Q.· Any inappropriate behavior by
22· ·Dr. Hundahl, did you hear of any?
23· · · ·A.· ·Well, the anesthesiologist that we discussed
24· ·earlier felt that he wasn't being treated appropriately.
25· · · · · · (Pauline M. Velez not present.)


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·1· · · · · · (Michael Remler joins the proceedings via
·2· ·audioconferencing.)
·3· · · · · · MR. HOYER:· Q.· And did you develop an opinion
·4· ·about whether that was correct or not?
·5· · · ·A.· ·Yes, I did.
·6· · · ·Q.· ·What was your opinion?
·7· · · ·A.· ·My opinion was that the anesthesiologist,
·8· ·indeed, wasn't performing at a level that we would like
·9· ·to see.
10· · · ·Q.· ·And what about Dr. Hundahl's handling of that
11· ·situation?· Did you develop an opinion about whether --
12· ·whether it was appropriate or not?
13· · · · · · MS. SMITH:· Objection.
14· · · · · · MR. HOYER:· Q.· You can answer.
15· · · ·A.· ·I think he might have been able to handle that
16· ·situation a little smoother.
17· · · ·Q.· ·What do you mean by that?
18· · · ·A.· ·He was not happy with performance of the
19· ·anesthesiologist as the section leader.· He tried to be
20· ·helpful in letting him know that his -- his -- basically
21· ·a contract -- I'm not sure that's the correct term, but
22· ·would not be renewed at the end of his -- the current
23· ·term.· And he told him that three or four months ahead.
24· · · · · · But I think he could have had, perhaps, other
25· ·efforts along the way to make sure that the


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·1· ·anesthesiologist knew where the performance needed to
·2· ·improve or help guide him to -- to do a better
·3· ·performance.
·4· · · ·Q.· ·Now, I think you said that -- that he let the
·5· ·anesthesiologist know three or four months ahead that
·6· ·his contract would not be renewed and that was helpful.
·7· · · · · · Did you say that?
·8· · · ·A.· ·Yes.· And I'm not sure that a "contract" was
·9· ·the actual term.· But he was on a yearly cycle.
10· · · · · · It would be helpful in the sense that he would
11· ·have time, if he wanted to look for another position,
12· ·or -- or just, perhaps, further concerns that
13· ·Dr. Hundahl had with his performance.
14· · · ·Q.· ·And was that something -- giving three or four
15· ·months' advance notice, was that not something that was
16· ·customary in that situation?
17· · · ·A.· ·Can you s- -- I missed that.· Can you repeat
18· ·that, please?
19· · · ·Q.· ·Sure.
20· · · · · · Was -- Giving a three or four months' notice
21· ·that he wasn't going to be renewed, was that not
22· ·customary in that type of situation?
23· · · ·A.· ·No, I don't think that happens as much as,
24· ·perhaps, it could.
25· · · ·Q.· ·Okay.


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·1· · · · · · And did the anesthesiologist allege that
·2· ·Hundahl was being discriminatory in some way?
·3· · · ·A.· ·Can you clarify that?
·4· · · ·Q.· ·Clarify about what?· "Discriminatory"?
·5· · · ·A.· ·Yes, please.
·6· · · ·Q.· ·Yeah.
·7· · · · · · Discrimination based on disability or gender or
·8· ·race, something like that, some protected category.
·9· · · ·A.· ·The -- No, I don't recall discrimination based
10· ·on gender or race.· There was a question about how sick
11· ·leave was handled, as I recall.
12· · · ·Q.· ·And the allegation was something to the effect
13· ·that Dr. Hundahl did not handle the anesthesiologist's
14· ·sick leave appropriately?
15· · · ·A.· ·I think that was one of the concerns that was
16· ·raised.
17· · · ·Q.· ·Okay.
18· · · · · · Do you know what the resolution was of the
19· ·allegations by the anesthesiologist?
20· · · ·A.· ·Well, I know the Court found in favor of the
21· ·anesthesiologist.
22· · · ·Q.· ·Did you disagree with the Court's finding?
23· · · · · · MS. SMITH:· Objection.
24· · · · · · MR. HOYER:· Q.· You can answer.
25· · · ·A.· ·Actually, I don't think it's my place to


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·1· ·disagree with the court finding.
·2· · · ·Q.· ·Well, one can develop an opinion about the
·3· ·Court's resolution without having some authority to have
·4· ·that opinion, so I'm just wondering if you -- if you had
·5· ·a reaction when you heard the Court's finding in favor
·6· ·of the anesthesiologist.
·7· · · · · · MS. SMITH:· Objection, to the extent that's a
·8· ·question.
·9· · · · · · MR. HOYER:· Q. You can answer.
10· · · ·A.· ·I disagreed with the Court's finding that
11· ·Dr. Hundahl or the VA fired the anesthesiologist.
12· · · ·Q.· ·So did you finish your answer?
13· · · ·A.· ·Yes.
14· · · ·Q.· ·So you disagreed with the Court's finding that
15· ·the anesthesiologist was fired?
16· · · ·A.· ·There was a lot of discussion about whether he
17· ·was not renewed versus he was fired.
18· · · ·Q.· ·Okay.
19· · · · · · What about the Court's finding that the
20· ·anesthesiologist was fired wrongfully?
21· · · · · · MS. SMITH:· Objection.
22· · · · · · MR. HOYER:· Q.· Do you have an opinion about
23· ·that?
24· · · · · · MS. SMITH:· Objection.
25· · · · · · THE WITNESS:· No, I have no opinion about that.


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·1· · · · · · MR. HOYER:· Q.· Are you aware that Dr. Velez
·2· ·has complained that Dr. Hundahl disparaged her?
·3· · · ·A.· ·No, I'm not aware of that.
·4· · · ·Q.· ·Are you aware that Dr. Velez has alleged that
·5· ·Dr. Lazzarino disparaged her?
·6· · · ·A.· ·No, I'm not aware of that.
·7· · · ·Q.· ·Did you ever take any action to counsel
·8· ·Dr. Hundahl about any problematic behavior?
·9· · · ·A.· ·Yes.
10· · · ·Q.· ·And what behavior -- what behavior did you
11· ·counsel him about?
12· · · ·A.· ·About ten years ago, I think, there were
13· ·concerns about how the surgery service, which included
14· ·anesthesia at the time, was operating.
15· · · · · · So we at the facility, between me and the
16· ·director, asked for an outside review, and the outside
17· ·review made -- spoke to a large number of people in --
18· ·in the service and came to the -- several
19· ·recommendations, one of which was to move anesthesia out
20· ·from surgery as a separate service.
21· · · · · · Another recommendation was that Dr. Hundahl be
22· ·assigned a mentor that he could discuss issues with, and
23· ·so -- in concerns about how he worked with staff.
24· · · · · · So I met with him at that time to discuss
25· ·various -- various thoughts.


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·1· · · ·Q.· ·And when you say "how he worked with staff,"
·2· ·what do you mean by that?
·3· · · ·A.· ·What I meant was the comments that he wa- -- he
·4· ·could be too abrupt.
·5· · · ·Q.· ·Was he described as vindictive or aggressive?
·6· · · ·A.· ·Abrupt.
·7· · · ·Q.· ·But nobody, to your knowledge, described him as
·8· ·vindictive?
·9· · · ·A.· ·I don't recall that.
10· · · ·Q.· ·What about aggressive?
11· · · ·A.· ·I -- I don't recall aggressive, per se, versus
12· ·abrupt.
13· · · · · · And there's -- Can we go off the record for a
14· ·second?
15· · · · · · There's -- I keep -- I keep getting messages
16· ·about a technical -- some technical issues with the
17· ·connection, and there are times where the -- the audio
18· ·is delayed from -- from the video.
19· · · · · · So I'm -- I'm just telling -- I'm having some
20· ·technical difficulties here.
21· · · · · · MR. HOYER:· Okay.· Yeah, we're off the record.
22· · · · · · (Off the record.)
23· · · · · · MR. HOYER:· Okay.
24· · · ·Q.· ·So, Dr. Cahill, what did you do to -- if
25· ·anything, to ensure that Dr. Hundahl was less abrupt


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·1· ·with staff?
·2· · · ·A.· ·So we talked about his mentor -- mentoring.· He
·3· ·had selective memory, and we discussed that -- who it
·4· ·was at the time, which I don't recall the person at this
·5· ·point.· We discussed that he was having meetings with
·6· ·that person.
·7· · · · · · I don't recall issues really arising after
·8· ·that, that period of time.
·9· · · ·Q.· ·Did you do anything to talk to -- to the staff
10· ·that he worked with to make sure that the situation got
11· ·better?
12· · · ·A.· ·I meet with staff at various points and various
13· ·times in hallways or meetings, whatever, and I'd not
14· ·heard other discussions about issues with his behavior.
15· · · ·Q.· ·Yeah.· My question is slightly different.
16· · · · · · Did you do anything to talk to staff to make
17· ·sure that his behavior was better?· Did you ask them,
18· ·for example, "Is his behavior better?"
19· · · ·A.· ·No, I did not.
20· · · ·Q.· ·And you took, by the absence of further
21· ·complaint, that his behavior was better --
22· · · ·A.· ·Yes.
23· · · ·Q.· ·-- is that correct?
24· · · · · · Now, did you ever hear any allegations that
25· ·Dr. Hundahl was using the credentialing and privileges


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·1· ·forum as some method of getting back at physicians in
·2· ·his service --
·3· · · ·A.· ·No.
·4· · · ·Q.· ·-- retaliatory?
·5· · · ·A.· ·No.
·6· · · ·Q.· ·Okay.
·7· · · · · · And you've never heard from any employee that
·8· ·Dr. Hundahl discriminated against them based on their
·9· ·sex or their race?
10· · · ·A.· ·No.
11· · · ·Q.· ·Now, did you ever hear that Dr. Hundahl was
12· ·systematically taking away first- and second-line
13· ·supervision of the physicians in Martinez?
14· · · · · · MS. SMITH:· Objection.
15· · · · · · THE WITNESS:· Can you clarify that question?
16· · · · · · MR. HOYER:· Q.· Well, did you ever hear that
17· ·Dr. Hundahl was taking away supervision of the
18· ·physicians in Martinez?
19· · · · · · MS. SMITH:· Objection.· You just repeated the
20· ·question.· He asked for clarification.
21· · · · · · MR. HOYER:· Q.· What is it about the question
22· ·that you don't understand, Dr. Cahill?
23· · · ·A.· ·As I understand the question, you're asking did
24· ·anybody complain that he was pulling supervision of
25· ·staff -- I'm -- I'm really -- I'm really kind of


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·1· ·confused by your question.· I apologize.
·2· · · ·Q.· ·So let me be specific with an example.
·3· · · · · · Did you ever hear there was an allegation that
·4· ·Hundahl changed Dr. Martin's first-line supervisor to be
·5· ·Dr. Lazzarino?
·6· · · ·A.· ·I don't recall that, and it wouldn't have
·7· ·likely risen to my level.· But having b- -- And I don't
·8· ·know who the prior first-line supervisor would have
·9· ·been, but it would be appropriate that a podiatrist
10· ·would report to the section chief of podiatry.
11· · · ·Q.· ·Did you have any understanding that this was
12· ·after Lazzarino had been investigated by the OIG for
13· ·fraud?
14· · · ·A.· ·No, that does not -- I do not recall that.
15· · · · · · I recall there was an investigation, but I
16· ·don't recall -- I don't recall that -- this change was
17· ·made, per se.
18· · · ·Q.· ·Okay.
19· · · · · · Now, have you had any involvement at all in the
20· ·decision to remove Dr. Velez's title of "site manager"?
21· · · ·A.· ·No.· That would not have been my purview.
22· · · ·Q.· ·Did you talk to anybody about that decision?
23· · · ·A.· ·Can you clarify at what point you're talking
24· ·about?
25· · · ·Q.· ·Yeah.


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·1· · · · · · Around the time that the decision was made.
·2· · · ·A.· ·No.· I heard after the decision was made.
·3· · · ·Q.· ·Who did you hear it from?
·4· · · ·A.· ·I heard it from various people, likely from the
·5· ·director, from Mr. Graham, from Dr. Velez, from
·6· ·Dr. Remler, from Dr. Green.
·7· · · ·Q.· ·Did you develop any opinion about whether the
·8· ·decision was correctly made or not?
·9· · · · · · MS. SMITH:· Objection.
10· · · · · · MR. HOYER:· Q.· You can answer.
11· · · ·A.· ·I didn't really have much of an opinion about
12· ·those duties, per se.
13· · · · · · I know that the director -- at least -- excuse
14· ·me -- the associate director on -- is on that campus,
15· ·and so there would be some duplication of efforts if
16· ·there was a separate site manager.· I mean, that would
17· ·be -- that would be a potential consideration.
18· · · · · · My focus, really, was on the clinical side of
19· ·what Dr. Velez does.
20· · · ·Q.· ·Did Dr. Velez -- Did her clinical performance
21· ·improve or increase as a result of the removal of her
22· ·site-manager duties?
23· · · · · · MS. SMITH:· Objection.· Compound.
24· · · · · · MR. HOYER:· Q.· You can answer.
25· · · ·A.· ·I don't know whether her clinical RVUs


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·1· ·increased with the change.· I didn't really have
·2· ·concerns about the quality of her care before or after
·3· ·that point.
·4· · · ·Q.· ·But before the decision, you were unaware of
·5· ·any argument that she should have the site-manager
·6· ·duties taken away so that she could increase the amount
·7· ·of clinical time she was spending; is that correct?
·8· · · ·A.· ·I do not recall any conversation to that effect
·9· ·before the site-manager duties were reassigned to the --
10· ·the associate director.
11· · · ·Q.· ·Okay.
12· · · · · · Now, when she asked you to be named chief
13· ·medical officer -- I'm sorry if you responded to this
14· ·question already, but I think -- I'm not sure that you
15· ·did -- did you consult with Mr. Stockwell about it?
16· · · ·A.· ·That discussion started with me and Dr. Velez.
17· · · · · · That would -- Under the chief-medical-officer
18· ·position, if it were to exist, would report up through
19· ·my side of the organization, eventually to the director,
20· ·but up to my site [sic] -- my side.
21· · · ·Q.· ·Yeah.
22· · · · · · My question is whether you had any discussions
23· ·with Stockwell about it, any communication about it.
24· · · ·A.· ·I recall talking to him after the fact, after
25· ·my discussion with Dr. Velez.


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·1· · · ·Q.· ·What was that discussion and what was said in
·2· ·that discussion between you and Stockwell?
·3· · · ·A.· ·That -- That -- I just told him that I did not
·4· ·want to have the chief medical officer position on any
·5· ·of the sites and that I -- that I wanted the -- it was
·6· ·my expectation that the section chief or service chiefs
·7· ·be responsive to -- throughout the organization.
·8· · · · · · The only other conversations that I had were
·9· ·about a month earlier when I had a call from both
10· ·Dr. Remler and Mr. Graham in the same afternoon where
11· ·the -- where they each mentioned that there was a
12· ·request for a CMO position that would -- that would have
13· ·been my decision to make, not either of theirs.
14· · · ·Q.· ·Do you remember your discussion with Mr. Graham
15· ·about that?
16· · · ·A.· ·I think it had to do with an informal
17· ·grievance, that she had asked for that in the same
18· ·afternoon that I had the conversation with Dr. Remler.
19· · · · · · MR. HOYER:· All right.· Let's see if I can
20· ·share a document here.
21· · · · · · Let's mark this as Exhibit 1.
22· · · ·Q.· ·And, Dr. Cahill, can you see what's appearing
23· ·here on the screen?
24· · · ·A.· ·Yes.· I can see the top half of an email.
25· · · ·Q.· ·Okay.


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·1· · · · · · So it's a little bit cumbersome because of
·2· ·Zoom, but if you'd like to review this before I ask you
·3· ·questions about it, I'm happy to scroll down when you
·4· ·tell me to scroll down.
·5· · · ·A.· ·Okay.
·6· · · · · · You can scroll down a little bit.
·7· · · · · · Hold it.
·8· · · · · · Okay.· You can scroll further.
·9· · · · · · Okay.· Is there more?
10· · · ·Q.· ·Nope.· That's it.· All right.
11· · · · · · Do you recognize this as an email exchange
12· ·between you and the ORM investigator, Frederick Barthel?
13· · · ·A.· ·Yes, I do.
14· · · ·Q.· ·Okay.
15· · · · · · Now, did Mr. Barthel interview you --
16· · · ·A.· ·Yes, he did.
17· · · ·Q.· ·-- on the telephone?
18· · · ·A.· ·Yes.· Yes, he did.
19· · · ·Q.· ·Approximately how long -- I'm sorry; I didn't
20· ·mean to talk over you.
21· · · · · · About how long was the phone call with him?
22· · · ·A.· ·It was less than a half an hour, as I recall.
23· · · ·Q.· ·Was there more than one phone call?
24· · · ·A.· ·Can you say that again?
25· · · ·Q.· ·Was there more than one phone call with -- with


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·1· ·him?
·2· · · ·A.· ·No.· I -- I believe it was only one phone call.
·3· · · ·Q.· ·Now, here under the bullet point "Position" --
·4· ·do you see that? --
·5· · · ·A.· ·Yes.
·6· · · ·Q.· ·-- "Chief of Staff ...," you say that:
·7· · · · · · "I have been in Complainant's chain of
·8· · · ·command for her clinical activities, but not
·9· · · ·in her role as site manager ... ."
10· · · · · · So was it your understanding that she had a
11· ·separate chain of command in her role as site manager?
12· · · ·A.· ·Yes.
13· · · ·Q.· ·So when you say, under "National Origin," you
14· ·"thought Complainant's relatives came from Spain," how
15· ·did you come to that understanding?
16· · · ·A.· ·Well, while I may have had the country wrong,
17· ·Dr. Remler had mentioned to me that she was Hispanic in
18· ·origin.
19· · · · · · MR. HOYER:· Okay.· All right.· Let's pull up
20· ·another exhibit.
21· · · · · · This is Exhibit 2.· It's an "Investigative
22· ·Report in the Matter of the EEO Complaint of
23· ·Discrimination of:· Pauline Velez."
24· · · · · · THE WITNESS:· Whoa, whoa, whoa.· Hold on.
25· · · · · · MR. HOYER:· Q.· Sorry?


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·1· · · ·A.· ·You were -- I'm sorry.· I just said slow down.
·2· ·You started to drop pretty fast there.
·3· · · ·Q.· ·No.· I'm -- So I'm going to ask you
·4· ·questions -- specific questions about this.· I'm happy
·5· ·to go th- -- let you scroll through the whole document.
·6· ·It's a little bit lengthy, but whatever your preference
·7· ·is.
·8· · · · · · MS. SMITH:· Yes.· I'd ask that the witness be
·9· ·allowed to review a document before you ask questions to
10· ·him about it.
11· · · · · · MR. HOYER:· I just did that.
12· · · · · · THE WITNESS:· Okay.· Yes, please.
13· · · · · · MR. HOYER:· Q.· So just tell me when you need
14· ·me to scroll down.
15· · · ·A.· ·Okay.· You can scroll down.
16· · · · · · Uhp [phonetic].
17· · · · · · There you go.
18· · · · · · Okay.· You can scroll down.
19· · · · · · Okay.· You can s- -- go down further.
20· · · · · · There you go.
21· · · · · · Okay.· You can scroll down further.
22· · · · · · Wuhp, wuhp [phonetic].
23· · · · · · Yeah.· Down further.
24· · · · · · Okay.· You can scroll down further.
25· · · · · · Okay.· You can go down further.


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·1· · · · · · Scroll down further, please.
·2· · · · · · You're, maybe, too far.· Could you go up a
·3· ·little bit?
·4· · · · · · Okay.
·5· · · · · · Can you scroll down further now, please.
·6· · · · · · Can you scroll up a little bit now.
·7· · · · · · Try to keep this bottom paragraph -- I'm not
·8· ·sure how much more there is.
·9· · · · · · Thank you.
10· · · · · · Okay.· You can scroll down further, please.
11· · · · · · Okay.· You can go -- go -- You may have to
12· ·keep, again, that bottom paragraph there.
13· · · · · · Okay.· Can you scroll down further?
14· · · · · · Now you went a little too far.
15· · · · · · Okay.· Good.· Thank you.
16· · · · · · Okay.· You can scroll up to bring Dr. Hundahl
17· ·up to the -- that comes up ...
18· · · · · · There you go.
19· · · · · · Okay.· Can you scroll up to me -- my part?
20· · · · · · Okay.· Can you scroll down further?
21· · · · · · You can scroll down further now.
22· · · · · · Okay.
23· · · ·Q.· ·All right.
24· · · · · · So I really only want to ask about this one
25· ·paragraph.· Okay.


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·1· · · · · · So the bottom of this page here in
·2· ·Complainant's -- Let's see if I can highlight this
·3· ·paragraph.
·4· · · · · · MS. SMITH:· Just for reference, it's the page
·5· ·Bates that is USA005706.
·6· · · · · · MR. HOYER:· Thanks.
·7· · · ·Q.· ·So -- You know, in this paragraph, you're
·8· ·relating Dr. Velez's assertions.· She's told the
·9· ·investigator "she deals with virtually all day-to-day
10· ·issues" in her "current position as Assistant Chief of
11· ·Surgery."
12· · · · · · (continued reading):
13· · · · · · "However, RMO Hundahl, with Dr. Cahill's
14· · · ·support, has moved all" -- "all positions
15· · · ·under the Section Chiefs based in Sacramento."
16· · · · · · Is that sentence a correct statement of fact?
17· · · · · · MS. SMITH:· Objection.
18· · · · · · MR. HOYER:· Q.· You can answer.
19· · · ·A.· ·Which sen- -- I'm sorry.· You read two
20· ·sentences.
21· · · ·Q.· ·The second sentence.
22· · · ·A.· ·I would support that the section chiefs would
23· ·have oversight of -- surgical section chiefs would have
24· ·oversight of surgical functions across the system.
25· · · ·Q.· ·And this is regardless of the fact that the


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·1· ·surgical section chief is not actually on the Martinez
·2· ·campus?
·3· · · ·A.· ·Yes.
·4· · · ·Q.· ·And this is despite the fact that the surgical
·5· ·section chief rarely, if ever, works with the staff on
·6· ·the Martinez campus?
·7· · · · · · MS. SMITH:· Objection.
·8· · · · · · THE WITNESS:· I don't know if that is true.
·9· · · · · · MR. HOYER:· Q.· Okay.
10· · · · · · How often does the surgical section chief work
11· ·with the staff on the Martinez campus?
12· · · · · · MS. SMITH:· Objection.· Calls for speculation.
13· · · · · · THE WITNESS:· There are multiple surgery
14· ·section chiefs, one of whom operates on that campus.
15· · · · · · MR. HOYER:· What -- How often do the surgical
16· ·section chiefs that don't operate predominantly on the
17· ·Martinez campus visit the Martinez campus to work with
18· ·the staff there?
19· · · ·A.· ·I don't know.
20· · · ·Q.· ·Then she says:
21· · · · · · "Previously, all surgeons in the East Bay
22· · · ·had a local supervisor based in
23· · · ·Martinez ... ."
24· · · · · · Is that correct?
25· · · ·A.· ·I don't know that.· It would not have been my


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·1· ·model.
·2· · · ·Q.· ·Okay.
·3· · · · · · And then it says.
·4· · · · · · "This continues to be the same supervisor
·5· · · ·control that exists in Medicine, Mental Health
·6· · · ·and most clinical services."
·7· · · · · · Is that correct?
·8· · · ·A.· ·No, I don't believe that's correct.
·9· · · ·Q.· ·How is that incorrect?
10· · · ·A.· ·So Mental Health has program leads as opposed
11· ·to sections, and they have moved to -- they have been --
12· ·they are in a situation where the program lead is over
13· ·that program through all locations; PTSD, for instance.
14· · · · · · And from Medicine, it's my understanding the
15· ·supervisors are re- -- are -- the section chiefs
16· ·supervise the staff at all locations including the ones
17· ·in Martinez.
18· · · ·Q.· ·Okay.
19· · · · · · Let me pull up -- this one is quite small.
20· · · · · · So first question is:· Can you see Exhibit 4?
21· · · · · · MR. HOYER:· Here, let's mark this as Exhibit 4.
22· · · · · · THE REPORTER:· Counsel, we don't have a "3."
23· · · · · · MR. HOYER:· I know.· I'm going to do that next.
24· · · · · · THE REPORTER:· Thank you.· Sorry for the
25· ·interruption.


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·1· · · · · · MR. HOYER:· That's all right.
·2· · · · · · THE WITNESS:· I see -- I see a table here.
·3· · · · · · Can you slide to the left?
·4· · · · · · MR. HOYER:· Q.· To the left or to the right?
·5· · · ·A.· ·That's what I was looking for.· Okay.
·6· · · · · · Okay.· Right there.
·7· · · ·Q.· ·Okay.
·8· · · · · · Are you familiar with this document, sir?
·9· · · ·A.· ·Well, I've seen documents like this.
10· · · ·Q.· ·And is part of your job responsibilities to
11· ·manage patient wait times?
12· · · ·A.· ·Yes, that is one of my responsibilities.
13· · · ·Q.· ·Okay.
14· · · · · · And do you share that responsibility with the
15· ·associate directors?
16· · · ·A.· ·No, though they are -- they also -- not
17· ·directly.
18· · · · · · The associate directors are certainly aware of
19· ·wait-time issues in general at -- and understand that
20· ·certain services that report to them have an impact on
21· ·wait times.
22· · · ·Q.· ·And what -- what about when it comes to
23· ·managing particular surgeons to make sure that they are
24· ·available as much as is possible to reduce patient wait
25· ·times?· Is that your job or the associate directors' job


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·1· ·or both?
·2· · · ·A.· ·That would be the chief of surgery and the
·3· ·section chiefs relative to that particular provider.
·4· · · ·Q.· ·Okay.
·5· · · · · · But not the associate director?
·6· · · ·A.· ·Correct.
·7· · · ·Q.· ·Okay.
·8· · · · · · And did you ever -- ever have any conversations
·9· ·with Mr. Graham about reducing surgery wait times in
10· ·Martinez?
11· · · ·A.· ·I could very well have had conversations with
12· ·him about wait times in a variety of locations.
13· · · ·Q.· ·I'm just focused in particular on -- on the
14· ·Martinez campus.
15· · · · · · Do you remember any particular conversations
16· ·with him about reducing surgery wait times?
17· · · ·A.· ·I don't remember any particular conversation
18· ·about surgery wait times in Martinez, per se, versus --
19· ·I would likely have had conversations in general with
20· ·him.
21· · · ·Q.· ·And what -- what sorts of things would you
22· ·discuss with him about reducing surgery wait times?
23· · · · · · MS. SMITH:· Objection.
24· · · · · · You can answer.
25· · · · · · THE WITNESS:· Well, to start with, you -- it


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·1· ·could well be how well are the scheduling efforts
·2· ·occurring, because the schedulers, in large part, report
·3· ·to the chief of BDMS, who reports to the associate -- to
·4· ·an -- to one of the two associate directors.
·5· · · · · · It might have also come in the context of
·6· ·hiring, where the clinical service or section is having
·7· ·trouble bringing somebody on board and they're
·8· ·working -- looking for support from HR.
·9· · · · · · And again, they -- at this time, HR reported
10· ·up -- the chief of HR reported up to one of the
11· ·associate directors.· It might be --
12· · · · · · MR. HOYER:· Q.· And would that be -- I'm sorry.
13· · · ·A.· ·I'm sorry.
14· · · ·Q.· ·Would that be hiring physicians, surgeons?
15· · · ·A.· ·Yes.· N- -- Yes.
16· · · · · · There's a re- -- you know, process of trying to
17· ·hire somebody, and that involved some back-and-forth and
18· ·steps and processes that occur within HR.
19· · · ·Q.· ·Now, did you ever focus your efforts to reduce
20· ·surgery wait times on vascular surgery?
21· · · ·A.· ·I would have had discussions with Dr. Hundahl
22· ·about vascular-surgery access, as I might have with
23· ·o- -- other individual sections that were rising up or
24· ·down at the time.
25· · · ·Q.· ·Okay.


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·1· · · · · · I'm pulling up Exhibit 3, which purports to be
·2· ·a chart of "Pending Appointment Summaries [sic] by
·3· ·Service" of June 6, 2019.
·4· · · · · · Have you seen this document before?
·5· · · ·A.· ·I have seen similar documents.· I can't say
·6· ·whether I've seen this one.
·7· · · ·Q.· ·Okay.
·8· · · · · · As you sit here today looking at this document,
·9· ·does the vascular-surgery wait time stand out as being
10· ·something particularly problematic?
11· · · ·A.· ·Well, let me review this.
12· · · ·Q.· ·Sure.· Take your time.
13· · · ·A.· ·Thank you.
14· · · · · · Can you clarify what location is covered by
15· ·this?· Is this, again, Martinez, or is this all of
16· ·Northern California?
17· · · ·Q.· ·Let's see.· Let me scroll down here.· That
18· ·might answer your question.
19· · · · · · I think it's all of Northern California, but
20· ·I'm not sure, because this is not our -- Plaintiff's
21· ·document.· It is --
22· · · ·A.· ·Um-hum.
23· · · ·Q.· ·-- your document.
24· · · ·A.· ·Okay.
25· · · ·Q.· ·So once you're finished --


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·1· · · ·A.· ·Yeah.
·2· · · · · · So looking at this document, my concerns would
·3· ·be drawn more towards ophthalmology, podiatry,
·4· ·orthopedics, and urology to a lesser degree.
·5· · · ·Q.· ·Okay.
·6· · · · · · MS. SMITH:· And just for the record, he's
·7· ·looking at the first page of Exhibit 3.
·8· · · · · · THE WITNESS:· Yes, I'm looking at the first
·9· ·page of Exhibit 3.
10· · · · · · MR. HOYER:· Q.· Okay.
11· · · · · · Dr. Cahill, I -- I'm sorry.· What -- What were
12· ·you going to say?
13· · · ·A.· ·I --
14· · · · · · MR. HOYER:· I was just going to say, I don't
15· ·have any further questions for you today.· Thank you for
16· ·your time.
17· · · · · · MS. SMITH:· Okay.· Thank you very much.
18· · · · · · · · · · · · · (Whereupon Plaintiff's Exhibits 1
19· · · · · · · · · · · · · ·through 4 were marked for
20· · · · · · · · · · · · · ·identification.)
21· · · · · · (Deposition concluded at 12:51 p.m.)
22· · · · · · · · · · · · · ---o0o---
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·1· ·STATE OF _______________________________)
· · · · · · · · · · · · · · · · · · · · · · ·) ss.
·2· ·COUNTY OF ______________________________)

·3· · · · · · · I, the undersigned, declare under penalty

·4· ·of perjury that I have read the foregoing transcript,

·5· ·and I have made any corrections, additions or deletions

·6· ·that I was desirous of making; that the foregoing is a

·7· ·true and correct transcript of my testimony contained

·8· ·therein.

·9· · · · · · · EXECUTED this _________ day of _____________,

10· ·20____, at _________________, _________________________.
· · · · · · · · · · · ·(City)· · · · · · · · ·(State)
11

12

13· · · · · · · · · · · · · ·______________________________
· · · · · · · · · · · · · · · · · WILLIAM CAHILL, M.D.
14

15· · · · · · · · · · · · · ---o0o---

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